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                                                                Exhibit 2
. '
                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF INDIANA
                                         INDIANAPOLIS DIVISION
                                    CAUSE NO. 1:1 6-CV-01193-RLY-DML
              RICHARD N. BELL,                           )
                                                         )
                                           Plaintiff ,   )
                                                         )
                             -vs-                        )
                                                         )     ORIGINAL
              MICHAEL MALONEY ,                          )
                                                         )
                                           Defendant .   )




                           The deposition upon oral      exa mination of
                RICHARD BELL, a witness produced and sworn before me ,
                Tonya Esparza, RPR, a Notary Public in and for the
                County of Marion, State of Indiana, taken on behalf
                of the Defendant at the offices of Richard N . Bell ,
                10042 Springstone Road, McCordsville, Hancock County,
                Indiana, on the 7th day of March, 2017, pursuant to
                the Federal Rules of Civil Procedure.




                                         CIRCLE CITY REPORTING
                                         135 North Pennsylvania
                                               Suite 1720
                                        Indianapolis , IN 46204
                                             (31 7 ) 635- 7 857
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      1       R I C H A R D                B E L L, having been first duly sworn
      2                    to tell the truth, the whole truth and nothi n g
      3                    but the truth relating to said matter , was
      4                    e x amined and    ~e~~ified   a~   follo ws:

      5      DIRECT EXAMINATION ,
      6                    QUESTIONS BY JOHN W. NELSON :
      7      Q             Good morning, sir .
      8      A             Good morning .
      9      Q             For the record , could you please state your name.
     10      A             Richard Bell , B-e-1-1 .
     11      Q             Okay.       And, Mr . Bell, you are the pla i ntiff i n
     12                    this case ; correct?
(\   13      A             Correct .
     14      Q             Okay.       Let t he record reflect that this is the
     15                    discovery deposition of Richard Bell , plaintiff,
     16                    being conducted pursuant to Federal Rule of Civil
     17                    Procedure 30.
     18                            And, Mr. Bell , you are an attorne y?
     19      A             Correct .
     20      Q             Correct?
     21      A             Uh - huh.
     22      Q             Lice nsed by the state of Indiana?
     23      A             Correct .
     24      Q             Okay.       And you 've been an attorney sin ce 1975 ; is
     25                    that correct?
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                                                                                     46


     1        Q          That is the photo mar ked as Exh i bit A that you
     2                   allege Mr . Malon ey has infringed upon ; is that
     3                   correct?
     4        A          That ' s correct.
     5        Q          Okay .     Now , this same photo ,    I believe , was the

     6                   photo that showed u p on the Cohen & Malad
     7                   website ; right ?
     8        A          Yes .
     9        Q          Okay .     And on the website -- let ' s do t his .
    10                            (Deposi t ion Exhibit (s) C wa s marked for

    11                   identifica tion . )
    12        Q          Handing you what ' s been marked as Exhibit C.
~   13                            Is t hat the same pho t o?
    14        A          It is .
    15        Q          Okay .     And on the website i t wa s labeled -- on
    16                   the Cohen & Malad website , i t ' s labeled
    17                   " Indianapol is S kyl ine from Canal " ; right?
    18        A          Correct.
    19        Q          Okay .     And you took this f rom the canal ; right ?
    20                   That was you r vantage point?
    21        A          Yes .
    22        Q          Okay .     I believe in answers to interrogatories
    23                   y ou indicated that you took this pi cture on
    24                  March 8th of 2000?
    25        A          Yeah , and I -- and I ' m -- it was around that
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                                                                                             47

    f".
I

           1                   t i me .

           2        Q          Okay .      Okay .   Noticing the aesthetics of the

           3                   p icture
           4        A          Uh-huh.
           5        Q          -- and I can see, you know , no clouds in the s k y .
           6        A          Right .
           7        Q          Pretty clear p icture of it .

           8        A          Right .
           9        Q          Did you -- I mean , did you consult, like ,

          10                   five-day weather forecast?           Did you kind of try

          11                   t o do any advanced planning before you too k this

          12                   p icture?

.~        13        A          I don ' t believe I did.       I      I did notice t he day

          14                   that I -- the day that             or I mean , t he day I

          15                   decide d to take this ,      I noticed the sky was
          16                   perfect      as far as what -- wh at you -- what a

          17                   photographe r would l i ke to have as far as the

          18                   s ky .     And I waited until arou n d 4: 30 that day to

          19                   take the photograph because I          k n ew that I wanted

          20                   the sun corning in from the right side of t h e

          21                   photo .
          22        Q          Right .      So there ' s a number o f considerations

          23                   that as a photographer you ' ve g ot to be aware of

          24                   i n order to get the optimum visual ; right?

          25        A          Right , uh - huh .
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       1                using it on the website.
       2     Q          Uh-huh .

       3     A          I mean, when you say commercial lice nse,          you ' re

       4                talkin g about handing over the r ights to -- so
       5                that they own the photograph?        No.   No t   -- not at

       6                all .
       7     Q          Yeah .
       8     A          I was going to maintain ownership .        They could

       9                use it .
      10     Q          Okay.
      11     A          They could use i t on -- on the website .          But not

      12                for purposes of owning the photograph .

r'\   13     Q          Had you ever granted a comme rcial license to the

      14                Indianapolis skyline photo anybody e l se up to
      15                that point     in time?
      16     A          No, not at all.

      17     Q          Okay .
      18     A          I n fact ,   the first one tha t   ever purchased was

      19                Community hospital.
      20     Q          Okay .
      21     A          And they did that in about -- I don't have any

      22                current records on it, but I'm thinking it ' s in

      23                the 200 4 to 2005 area --

      24     Q          Yeah.
      25     A          -- era.
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                  Exhibit Z: Page 133



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              1        A          Yeah .     I mean, I started -- well, I worked some
              2                   other places way back before 1971 , but that was
              3                   when I was still in college and before I went to

              4                   law school .      So I -- but that ' s my history since

              5                   1971 to -- or -- or 1960 -- well, work history
              6                   from ' 71 to 2012.
              7                            Do you have anymore questions on this?

              8        Q          No , I don ' t.
              9        A         Okay .
             10        Q         That ' s all the questions I have .
             11        A         Okay.

             12                            MS . KENNEDY:   I don ' t   have any .

~            13                  AND FURTHER THE DEPONENT SAITH NOT .

             14
             15
                                                                   RICHARD BELL
             16
             17
             18
             19
             20
             21
             22
             23
             24

             25
/   '-....
     Case 1:16-cv-01174-JRS-MPB Document 72-2 Filed 05/15/18 Page 8 of 9 PageID #: 924
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      1        STATE OF INDIANA
                                                   SS:
      2        COUNTY OF MARION
      3                     I, Tonya Esparza , RPR , a Notary Public in and

      4          for the County of Marion,· State of Indiana at large,
      5          do hereby certify that RICHARD BELL , the deponent

      6          herein, was by me first duly sworn to te l l the truth,
      7          the whole truth, and nothing but the truth in the
      8          above-captioned cause.
      9                     That the foregoing deposition was taken on
     10          behalf of the Defendant at the offices of Richard N.

     11          Bell,          10042 Springstone Road, McCordsvi l le , Hancock,

     12          County,          Indiana, on the 7th day of March, 2017,

(\   13          purs uant to the Applicable Ru l es .

     14                     That said deposition was taken down in
     15          stenograph notes and afterwards reduced to
     16          typewriting under my dir ection , and that the

     17          typewritten transcript is a true record of the
     18          testimony given by said deponent; and thereafter

     19          presented to said deponent for their signature;

     20                     That the parties were represented by their
     21          aforementioned counsel;
     22                     I do further certify t h at I am a disinterested
     23          person in this cause of action; that I am not a

     24          relative or attorney of either party, or otherwise
     25          interested in the event of this action , and am not in
(\
         Case 1:16-cv-01174-JRS-MPB Document 72-2 Filed 05/15/18 Page 9 of 9 PageID #: 925
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                                                                                              134

/ ' .,
          1          the employ of the attorneys for either party.
          2                     IN WITNESS WHEREOF,   I have hereunto set my hand
          3          and affixed my notarial seal this        d/~      day of
          4          ~....           ,   201 7.                                    ' '

          5
                                                      --(~ ~1Q' : ,-'~ _:. ~- -
          6
                                                                                     ·.
                                                       Tonya Esparza       ../
                                                                            ,. ,
                                                                                 .. ,,.,.._
          7
                   My Commission Expires :
          8        May 23 , 2017
          9        County of Residence:
                   Marion
         10
         11

         12
["'.     13
         14

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